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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF WYOMING



 CUSTODIA BANK, INC.,

           Plaintiff,

                        v.                        Civil Case No.: 1:22-CV-00125-SWS

  BOARD OF GOVERNORS OF THE
  FEDERAL RESERVE SYSTEM &
  FEDERAL RESERVE BANK
  OF KANSAS CITY,

         Defendants.


                                            ORDER
    This matter, having come before the Court pursuant to D. Wyo. Local Rule 7.1(b)(2)(G), and
good cause having been shown, IT IS ORDERED THAT Senator Patrick J. Toomey may file an
amicus curiae brief on or before April 18, 2023.
    Signed on _______________.




                              Hon. Kelly H. Rankin
                              United States Magistrate Judge
